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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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ALAN BAKER, Case No. 2:19-cv-08024-ODW-JC

LINDA B. OLIVER,
[Removed from Los Angeles County
Plaintiffs, Superior Court, Case No. 19STCV28664]

V. PROOF OF SERVICE

ALLSTATE INSURANCE COMPANY,
EDWARD CARRASCO, and DOES 1 [Complaint Filed: August 13, 2019]
through 10, inclusive, Trial Date: None set

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Defendants.

 

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-]- Case No. 2:19-cv-08024-ODW-JC
SMRH:4838-2865-0662.1 PROOF OF SERVICE

 

 

 
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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF SAN DIEGO
At the time of service, I was over 18 years of age and not a party to this action. I
am employed in the County of San Diego, State of California. My business address is 501
West Broadway, 19th Floor, San Diego, CA 92101-3598.

On December 31, 2019, I served true copies of the following document(s) described
as:

1.

on the interested parties in this action as follows:

Christopher G. Hook Attorneys for Plaintiffs’

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Culver City, California 90230 Email: chris@cghlaw.com
By CM/ECF

Matthew B. O’Hanlon Co-Counsel for Plaintiffs’

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2029 Century Park East, Ste. 300 Tel: 310) 284-3878

Los Angeles, CA 90067 Email: matthew.o’hanlon@btlaw.com
By CM/ECF

BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
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Participants in the case who are not registered CM/ECF users will be served by mail or by

other means permitted by the court rules.

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BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
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I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct and that I am employed in the office of a member of
the bar of this Court at whose direction the service was made. oo

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Executed on December 31, 2019, at San Diego, California.

 

Judy Johns

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oN WN ON RP WY NY KF OD OBO ON WON BP WD NO KF OC

 

 

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